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                                UNITED STATES BANKRUPTCY COURT
                               ________________ DISTRICT OF ___________
                                     __________________ DIVISION

IN RE:                                                              }           CASE NUMBER:
                                                                    }                  11-06620 ESL
           HOTEL AIRPORT INC.                                       }
                                                                    }           JUDGE LAMOUTTE
                                                                    }
           DEBTOR.                                                  }           CHAPTER 11




                                              DEBTOR'S POST-CONFIRMATION
                                              QUARTERLY OPERATING REPORT
                                                        FOR THE PERIOD
                        FROM                   1-Apr-14           TO   30-Jun-14



   Comes now the above-named debtor and files its Post-Confirmation Quarterly Operating Report in accordance with the
Guidelines established by the United States Trustee and FRBP 2015.

                                                                                           EDGARDO MUÑOZ
                                                                                             USDC NO. 125713
  Dated:    7/29/2014
                                                                                           Attorney for Debtor


                                                                                           Attorney's Address
                                                                                           and Phone Number:

                                                                                EDGARDO MUÑOZ, PSC
                                                                                attorney for debtor
                                                                                PO Box 360971
                                                                                San Juan, PR 00936-0971
                                                                                Tel. (787) 753-3888
                                                                                Fax (787) 524-3888
           Debtor's Address
           and Phone Number:                                                    emunoz@emunoz.net
           Luis Munoz Marin International Airport                               Bar No. USDC NO. 125713
           Carolina, Puerto Rico


           Tel. ________________________
                      787-791-1700


Note: The original Post Confirmation Quarterly Operating Report is to be filed with the Court and a copy simultaneously provided to the
United States Trustee. Monthly Operating Reports must be filed by the 20th day of the following month.

For assistance in preparing the Post Confirmation Quarterly Operating Report, refer to the following resources on the United States
Trustee website: http:// www.usdoj.gov/ust/r21/index.htm.
1) Instructions for Preparing Debtor's Chapter 11 Post confirmation Quarterly Operating Report
2) Initial Filing Requirements
3) Frequently Asked Questions (FAQs)
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MONTHLY OPERATING REPORT -                                                                                   ATTACHMENT NO. 2
POST CONFIRMATION


                              CHAPTER 11 POST-CONFIRMATION
                          SCHEDULE OF RECEIPTS AND DISBURSEMENTS


Case Name:      HOTEL AIRPORT INC

Case Number: 11-06620 ESL
Date of Plan Confirmation: March 21, 2013

               All items must be answered. Any which do not apply should be answered “none” or “N/A”.


                                                                      Quarterly        Post Confirmation Total
1.   CASH (Beginning of Period)                            $              587,208.13 $             269,226.41


2.   INCOME or RECEIPTS during the Period                  $               941,541.70 $                 2,208,423.57


3.   DISBURSEMENTS
     a.   Operating Expenses (Fees/Taxes):
          (i)   U.S. Trustee Quarterly Fees                $                      -   $                          -
          (ii)  Federal Taxes                                               33,462.25                      65,661.65
          (iii) State Taxes                                                111,839.98                     221,660.03
          (iv) Other Taxes                                                  12,956.72                      16,908.86
                                                                                                                 -
     b.   All Other Operating Expenses:                    $               779,448.20 $                 1,415,128.42

     c.   Plan Payments:
          (i)   Administrative Claims                      $                      -   $                         -
          (ii)  Class One                                                  127,405.99                    254,048.85
          (iii) Class Two                                                         -                             -
          (iv) Class Three                                                                                40,605.48
          (v)   Class Four                                                        -                             -
                (Attach additional pages as needed)

     Total Disbursements (Operating & Plan)                $             1,065,113.14 $                 2,014,013.29

1.   CASH (End of Period)                                  $               463,636.69 $                  463,636.69
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MONTHLY OPERATING REPORT -                                     ATTACHMENT NO. 3
POST CONFIRMATION

                                    CHAPTER 11 POST-CONFIRMATION
                                    BANK ACCOUNT RECONCILIATIONS
                                  Prepare Reconcilation for each Month of the Quarter
               April 30, 2014
Bank Account Information
                                                      Account          Account              Account          Account
                                                        #1               #2                   #3               #4
Name of Bank:                                     First Bank        First Bank           First Bank
Account Number:                                       1305004602        1305004591           1305004613
Purpose of Account (Operating/Payroll/Tax)        Operating         Payroll              Taxes
Type of Account (e.g. checking)                   Checking          Checking             Checking

1. Balance per Bank Statement                          664,611.60             3,205.47           18,022.54
2. ADD: Deposits not credited                           16,957.93                 -                      0
3. SUBTRACT: Outstanding Checks                         51,324.99             4,688.27            9,827.90
4. Other Reconciling Items                                      -

5. Month End Balance (Must Agree with Books)           630,244.54         (1,482.80)              8,194.64


Note: Attach copy of each bank statement and bank reconciliation.


Investment Account Information
                                                      Date of          Type of              Purchase         Current
       Bank / Account Name / Number                  Purchase         Instrument             Price            Value




Note: Attach copy of each investment account statement.
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MONTHLY OPERATING REPORT -                                     ATTACHMENT NO. 3
POST CONFIRMATION

                                    CHAPTER 11 POST-CONFIRMATION
                                    BANK ACCOUNT RECONCILIATIONS
                                  Prepare Reconcilation for each Month of the Quarter
               May 31, 2014
Bank Account Information
                                                      Account          Account            Account          Account
                                                        #1               #2                 #3               #4
Name of Bank:                                     First Bank        First Bank         First Bank
Account Number:                                       1305004602        1305004591         1305004613
Purpose of Account (Operating/Payroll/Tax)        Operating         Payroll            Taxes
Type of Account (e.g. checking)                   Checking          Checking           Checking

1. Balance per Bank Statement                          488,258.82        26,493.38             28,881.28
2. ADD: Deposits not credited                           21,863.24                -                   -
3. SUBTRACT: Outstanding Checks                         83,317.25        27,976.18                   -
4. Other Reconciling Items                                      -

5. Month End Balance (Must Agree with Books)           426,804.81         (1,482.80)           28,881.28


Note: Attach copy of each bank statement and bank reconciliation.


Investment Account Information
                                                      Date of          Type of            Purchase         Current
       Bank / Account Name / Number                  Purchase         Instrument           Price            Value




Note: Attach copy of each investment account statement.
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MONTHLY OPERATING REPORT -                                     ATTACHMENT NO. 3
POST CONFIRMATION

                                    CHAPTER 11 POST-CONFIRMATION
                                    BANK ACCOUNT RECONCILIATIONS
                                  Prepare Reconcilation for each Month of the Quarter
               June 30, 2014
Bank Account Information
                                                      Account          Account              Account         Account
                                                        #1               #2                   #3              #4
Name of Bank:                                     First Bank        First Bank           First Bank
Account Number:                                       1305004602        1305004591           1305004613
Purpose of Account (Operating/Payroll/Tax)        Operating         Payroll              Taxes
Type of Account (e.g. checking)                   Checking          Checking             Checking

1. Balance per Bank Statement                          480,152.21              862.77            6,735.67
2. ADD: Deposits not credited                           37,473.53                 -                   -
3. SUBTRACT: Outstanding Checks                         58,619.42             2,968.07                -
4. Other Reconciling Items                                      -

5. Month End Balance (Must Agree with Books)           459,006.32         (2,105.30)             6,735.67


Note: Attach copy of each bank statement and bank reconciliation.


Investment Account Information
                                                      Date of          Type of              Purchase        Current
       Bank / Account Name / Number                  Purchase         Instrument             Price           Value




Note: Attach copy of each investment account statement.
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MONTHLY OPERATING REPORT -                                                                                                                ATTACHMENT NO. 4
POST CONFIRMATION



                                                    CHAPTER 11 POST-CONFIRMATION
                                               CASH/DEBIT/CHECK DISBURSEMENTS DETAILS

Name of Bank                                                                          First Bank
Account Number                                                                        1305004602
Purpose of Account (Operating/Payroll/Personal)                                       Operating
Type of Account (e.g., Checking)                                                      Checking

  Check     Date of
 Number   Transaction                                    Payee                                        Purpose or Description       Amount
debit          4/1/2014   NABANCO                                                     Operating expense                        $        82.74
debit          4/1/2014   NABANCO                                                     Operating expense                        $     5,533.15
debit          4/1/2014   NABANCO                                                     Operating expense                        $     2,413.56
16326          4/1/2014   R&R Food Design Inc. - Cash Disbursement R&RFOO             Operating expense                        $       165.00
16327          4/1/2014   JMV Rental - Cash Disbursement JMVREN                       Operating expense                        $        72.00
debit          4/2/2014   AMEX                                                        Personal                                 $    10,000.00
debit          4/2/2014   FIRST BANK PAYMENT                                          First Bank Loan Payment                  $    42,842.59
debit          4/2/2014   AMEX                                                        Operating expense                        $         5.05
16328          4/2/2014   Pony Express Financial, LLC - Cash Disbursement PONEXP      Related party loan payment               $     8,250.00
16329          4/2/2014   Pony Express Financial, LLC - Cash Disbursement PONEXP      Related party loan payment               $     1,650.00
16330          4/2/2014   International Air Leases - Cash Disbursement INTAIR         Related party disbursement               $    11,843.53
16331          4/2/2014   Anthony Tirri - Cash Disbursement ANTTIR                    Personal                                 $     5,000.00
16332          4/2/2014   Autoridad de los Puertos - Cash Disbursement AUTPUE         Operating expense                        $    29,916.67
16333          4/2/2014   American Express - Cash Disbursement AMEX                   Operating expense                        $     1,057.66
16334          4/2/2014   Kin Cuc Corporation - Cash Disbursement KINCUC              Operating expense                        $     2,457.47
debit          4/3/2014   DISCOVER                                                    Operating expense                        $        91.64
debit          4/3/2014   AMEX                                                        Operating expense                        $         0.53
16335          4/3/2014   American Express - Cash Disbursement AMEX                   Operating expense                        $     2,251.14
16336          4/3/2014   Ballester Hermanos, Inc. - Cash Disbursement BALHER         Operating expense                        $     2,755.16
debit          4/4/2014   NABANCO                                                     Operating expense                        $       158.01
debit          4/4/2014   AMEX                                                        Operating expense                        $         4.17
16337          4/4/2014   Francisco Gandarilla - Cash Disbursement FRANGA             Operating expense                        $        60.00
16338          4/4/2014   Holsum de Puerto Rico - Cash Disbursement HOLSU             Operating expense                        $        71.82
16339          4/4/2014   Suiza Dairy Corp. - Cash Disbursement SUIZAD                Operating expense                        $        75.60
debit          4/7/2014   AMEX                                                        Operating expense                        $        15.00
16340          4/7/2014   F.O.M - Cash Disbursement F.O.M                             Related party disbursement               $    10,983.58
16341          4/8/2014   F.O.M - Cash Disbursement F.O.M                             Related party disbursement               $    10,000.00
16342          4/8/2014   Heriberto Berrios - Cash Disbursement HERBER                Operating expense                        $       140.00
16343          4/8/2014   Heriberto Berrios - Cash Disbursement HERBER                Operating expense                        $       315.00
debit          4/9/2014   JP MORGAN                                                   Personal                                 $     5,000.00
16344          4/9/2014   Aerostar Airport Holdings LLC - Cash Disbursement AEROST    Operating expense                        $     2,080.00
16345          4/9/2014   Quality Water Service - Cash Disbursement QUALWA            Operating expense                        $        40.00
16346          4/9/2014   IPFS Corporation - Cash Disbursement IPFSCO                 Operating expense                        $     3,061.52
debit         4/10/2014   NABANCO                                                     Operating expense                        $        77.92
debit         4/11/2014   FIRST BANK                                                  Operating expense                        $         1.58
debit         4/11/2014   FIRST BANK                                                  Operating expense                        $       157.83
debit         4/11/2014   AA FEES                                                     Operating expense                        $       169.44
debit         4/11/2014   FIRST BANK                                                  Operating expense                        $         9.47
16347         4/11/2014   Suiza Dairy Corp. - Cash Disbursement SUIZAD                Operating expense                        $       100.80
16348         4/11/2014   Francisco Gandarilla - Cash Disbursement FRANGA             Operating expense                        $        60.00
16349         4/11/2014   Holsum de Puerto Rico - Cash Disbursement HOLSU             Operating expense                        $        37.24
16351         4/11/2014   Ilia Reyes - Cash Disbursement ILIREY                       Operating expense                        $       222.10
16352         4/11/2014   Yolanda Olivieri - Cash Disbursement YOLAND                 Operating expense                        $       222.10
debit         4/14/2014   NABANCO                                                     Operating expense                        $        61.04
debit         4/14/2014   NABANCO                                                     Operating expense                        $        63.22
16353         4/14/2014   Tropigas de Puerto Rico, Inc. - Cash Disbursement TROPIG    Operating expense                        $     2,958.39
16354         4/14/2014   AFLAC - Cash Disbursement AFLAC                             Operating expense                        $       171.00
16355         4/14/2014   Schindler Elevator Corp. - Cash Disbursement SCHIND         Operating expense                        $       329.49
16356         4/14/2014   D'Erik Exterminating Service - Cash Disbursement DERICK     Operating expense                        $       450.00
16357         4/14/2014   Booking.com B.V - Cash Disbursement BOOKIN                  Operating expense                        $    12,865.05
16358         4/14/2014   American Express - Cash Disbursement AMEX                   Operating expense                        $        84.29
16359         4/14/2014   American Express - Cash Disbursement AMEX                   Operating expense                        $        54.00
16360         4/14/2014   American Express - Cash Disbursement AMEX                   Operating expense                        $       192.18
16361         4/14/2014   American Express - Cash Disbursement AMEX                   Operating expense                        $       353.91
16362         4/14/2014   American Express - Cash Disbursement AMEX                   Operating expense                        $       173.19
16363         4/14/2014   American Express - Cash Disbursement AMEX                   Operating expense                        $       297.79
16364         4/14/2014   Swirl Corp / DBA Goldenwhipp - Cash Disbursement GOLDEN     Operating expense                        $       815.40
16365         4/14/2014   Packers Food Service - Cash Disbursement PACKER             Operating expense                        $       342.45
16366         4/14/2014   Business Tele-Communications, - Cash Disbursement BTC       Operating expense                        $       687.50
16367         4/14/2014   Xerox Corporation - Cash Disbursement XEROX                 Operating expense                        $       664.23
16368         4/15/2014   R&R Food Design Inc. - Cash Disbursement R&RFOO             Operating expense                        $       266.25
16369         4/15/2014   JMV Rental - Cash Disbursement JMVREN                       Operating expense                        $        75.00
16370         4/15/2014   PR COFFEE ROASTER, LLC - Cash Disbursement CAFRIC           Operating expense                        $       576.00
16371         4/15/2014   Expedia Inc. - Cash Disbursement EXPEDI                     Operating expense                        $       220.00
16372         4/15/2014   Francisco J. Garrido - Cash Disbursement FRAGAR             Operating expense                        $     2,250.00
16373         4/16/2014   Antilles Carpet - Cash Disbursement ANCARP                  Operating expense                        $     2,712.34
16374         4/16/2014   PRTC - Cash Disbursement PRTC                               Operating expense                        $       852.66
16375         4/17/2014   Yolanda Olivieri - Cash Disbursement YOLAND                 Operating expense                        $        85.63
debit         4/18/2014   NABANCO                                                     Operating expense                        $        47.80
debit         4/18/2014   AMEX                                                        Operating expense                        $       152.59
16376         4/21/2014   Document Company - Cash Disbursement DOCCO                  Operating expense                        $       280.00
16377         4/21/2014   Gobierno Municipal Autonomo - Cash Disbursement GOBMUN      Operating expense                        $     1,575.40
16378         4/21/2014   Caribbean Hotel Supplies, Inc. - Cash Disbursement CARHOT   Operating expense                        $       732.00
16379         4/21/2014   J & M Depot, Inc. - Cash Disbursement J&M                   Operating expense                        $       657.24
debit         4/22/2014   FIRST BANK                                                  Operating expense                        $         4.00
debit         4/22/2014   NABANCO                                                     Operating expense                        $       164.58
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POST CONFIRMATION


debit     4/22/2014   NABANCO                                                     Operating expense            $      201.64
debit     4/22/2014   NABANCO CHARGEBACK                                          Operating expense            $      163.50
16380     4/22/2014   PR TOURISM COMPANY - Cash Disbursement PRTOUR               Operating expense            $    1,640.00
16381     4/22/2014   SAM'S CLUB - Cash Disbursement SAMS                         Operating expense            $      399.56
debit     4/23/2014   NABANCO                                                     Operating expense            $      152.59
debit     4/23/2014   AMEX                                                        Operating expense            $        2.03
16382     4/23/2014   American Express - Cash Disbursement AMEX                   Operating expense            $      837.42
16383     4/23/2014   J & M Depot, Inc. - Cash Disbursement J&M                   Operating expense            $    1,133.33
16384     4/23/2014   PRTC - Cash Disbursement PRTC                               Operating expense            $    1,672.25
16385     4/23/2014   Antilles Power Depot, Inc - Cash Disbursement ANTIPO        Operating expense            $      697.85
debit     4/25/2014   DLX BUSINESS CKS                                            Operating expense            $      312.20
debit     4/25/2014   JP MORGAN                                                   Personal                     $    5,000.00
16386     4/25/2014   Francisco Gandarilla - Cash Disbursement FRANGA             Operating expense            $      100.00
16387     4/25/2014   Holsum de Puerto Rico - Cash Disbursement HOLSU             Operating expense            $      127.68
16388     4/25/2014   Suiza Dairy Corp. - Cash Disbursement SUIZAD                Operating expense            $      176.40
16389     4/28/2014   Packers Food Service - Cash Disbursement PACKER             Operating expense            $      404.90
16390     4/28/2014   Gasco Industrial - Cash Disbursement GASIND                 Operating expense            $      247.64
16391     4/28/2014   Johnson Control of PR Inc. - Cash Disbursement JOHCON       Operating expense            $      300.00
debit     4/29/2014   NABANCO                                                     Operating expense            $      152.59
debit     4/30/2014   AMEX                                                        Operating expense            $      103.13
16392     4/30/2014   Fernando Flores - Cash Disbursement FERNAN                  Operating expense            $       29.93
16393     4/30/2014   Mr.Ink of Puerto Rico - Cash Disbursement MR.INK            Operating expense            $      139.80
debit      5/1/2014   NABANCO                                                     Operating expense            $       62.98
debit      5/1/2014   NABANCO                                                     Operating expense            $    3,749.97
debit      5/1/2014   FIRST BANK PAYMENT                                          First Bank Loan Payment      $   41,941.67
16394      5/1/2014   Antilles Power Depot, Inc - Cash Disbursement ANTIPO        Operating expense            $      750.00
16395      5/1/2014   Pony Express Financial, LLC - Cash Disbursement PONEXP      Related party loan payment   $    8,250.00
16396      5/1/2014   Pony Express Financial, LLC - Cash Disbursement PONEXP      Related party loan payment   $    1,650.00
16397      5/1/2014   International Air Leases - Cash Disbursement INTAIR         Related party disbursement   $   11,843.53
16398      5/1/2014   Anthony Tirri - Cash Disbursement ANTTIR                    Personal                     $    5,000.00
16399      5/1/2014   American Express - Cash Disbursement AMEX                   Operating expense            $    2,147.62
16400      5/1/2014   American Express - Cash Disbursement AMEX                   Operating expense            $    1,213.12
16401      5/1/2014   American Express - Cash Disbursement AMEX                   Operating expense            $       15.69
16402      5/1/2014   American Express - Cash Disbursement AMEX                   Operating expense            $       63.78
16403      5/1/2014   American Express - Cash Disbursement AMEX                   Operating expense            $      109.08
16404      5/1/2014   American Express - Cash Disbursement AMEX                   Operating expense            $       76.17
16405      5/1/2014   American Express - Cash Disbursement AMEX                   Operating expense            $       18.18
16406      5/1/2014   American Express - Cash Disbursement AMEX                   Operating expense            $       75.26
16407      5/1/2014   American Express - Cash Disbursement AMEX                   Operating expense            $      170.55
16408      5/1/2014   American Express - Cash Disbursement AMEX                   Operating expense            $      145.83
16409      5/1/2014   American Express - Cash Disbursement AMEX                   Operating expense            $      807.14
16410      5/1/2014   American Express - Cash Disbursement AMEX                   Operating expense            $       86.41
16411      5/1/2014   American Express - Cash Disbursement AMEX                   Operating expense            $      526.44
16412      5/1/2014   American Express - Cash Disbursement AMEX                   Operating expense            $      275.52
debit      5/2/2014   NABANCO                                                     Operating expense            $      158.04
debit      5/2/2014   NABANCO                                                     Operating expense            $      497.42
debit      5/2/2014   NABANCO                                                     Operating expense            $    1,458.09
debit      5/2/2014   AMEX                                                        Personal                     $   10,000.00
16413      5/2/2014   Swirl Corp / DBA Goldenwhipp - Cash Disbursement GOLDEN     Operating expense            $      907.50
16414      5/2/2014   Latimer, Biaggi, Rachid - Cash Disbursement LATBAG          Operating expense            $    3,000.00
16415      5/2/2014   JC Uniforms - Cash Disbursement JCUNIF                      Operating expense            $    1,000.00
debit      5/5/2014   XEROX                                                       Operating expense            $      516.32
debit      5/5/2014   DISCOVER                                                    Operating expense            $       43.99
16416      5/5/2014   American Express - Cash Disbursement AMEX                   Operating expense            $      141.11
16417      5/5/2014   Autoridad de los Puertos - Cash Disbursement AUTPUE         Operating expense            $   29,916.67
16418      5/5/2014   Econocaribe Consolidators Inc. - Cash Disbursement ECONCA   Operating expense            $      418.30
debit      5/6/2014   AMEX                                                        Operating expense            $       15.00
16419      5/6/2014   Aerostar Airport Holdings LLC - Cash Disbursement AEROST    Operating expense            $    2,080.00
16420      5/6/2014   TigerDirect.pr - Cash Disbursement TIGERD                   Operating expense            $      189.99
16421      5/6/2014   Autoridad de los Puertos - Cash Disbursement AUTPUE         Operating expense            $   63,020.19
16422      5/6/2014   Puerto Rico Tourism Company - Cash Disbursement COMTUR      Operating expense            $      182.00
16423      5/6/2014   Kin Cuc Corporation - Cash Disbursement KINCUC              Operating expense            $    2,528.93
16424      5/6/2014   IPFS Corporation - Cash Disbursement IPFSCO                 Operating expense            $    3,061.52
16425      5/7/2014   Expedia Inc. - Cash Disbursement EXPEDI                     Operating expense            $    1,265.00
16426      5/7/2014   D'Erik Exterminating Service - Cash Disbursement DERICK     Operating expense            $      450.00
16427      5/7/2014   Lanco Manufacturing - Cash Disbursement LANCOM              Operating expense            $      342.00
16428      5/7/2014   Francisco J. Garrido - Cash Disbursement FRAGAR             Operating expense            $    2,200.00
debit      5/8/2014   NABANCO                                                     Operating expense            $      141.69
debit      5/8/2014   JP CHASE                                                    Personal                     $    5,000.00
16429      5/8/2014   Cruz Moya Elevator Consultants - Cash Disbursement CRUZM    Operating expense            $      150.00
16430      5/8/2014   Ballester Hermanos, Inc. - Cash Disbursement BALHER         Operating expense            $    2,074.54
16431      5/9/2014   Suiza Dairy Corp. - Cash Disbursement SUIZAD                Operating expense            $      151.20
16432      5/9/2014   Holsum de Puerto Rico - Cash Disbursement HOLSU             Operating expense            $      109.06
16433      5/9/2014   Francisco Gandarilla - Cash Disbursement FRANGA             Operating expense            $       80.00
16434      5/9/2014   Hector González - Cash Disbursement HECTGO                  Operating expense            $       40.00
16435      5/9/2014   Ilia Reyes - Cash Disbursement ILIREY                       Operating expense            $      394.84
16436      5/9/2014   Yolanda Olivieri - Cash Disbursement YOLAND                 Operating expense            $      394.84
16437      5/9/2014   PRTC - Cash Disbursement PRTC                               Operating expense            $      842.34
16438      5/9/2014   PRTC - Cash Disbursement PRTC                               Operating expense            $      590.97
16439      5/9/2014   Booking.com B.V - Cash Disbursement BOOKIN                  Operating expense            $    6,084.29
16440      5/9/2014   Booking.com B.V - Cash Disbursement BOOKIN                  Operating expense            $       85.80
debit     5/12/2014   AMEX                                                        Operating expense            $    6,383.42
16441     5/12/2014   American Hotel Register Co. - Cash Disbursement AMHOTE      Operating expense            $    6,314.25
debit     5/13/2014   NABANCO                                                     Operating expense            $      152.59
debit     5/13/2014   NABANCO                                                     Operating expense            $      305.18
debit     5/14/2014   FIRST BANK                                                  Operating expense            $      187.50
16442     5/14/2014   Ballester Hermanos, Inc. - Cash Disbursement BALHER         Operating expense            $      288.60
16443     5/14/2014   Food Design Catering Service - Cash Disbursement FOODDE     Operating expense            $      125.00
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16444     5/14/2014   Packers Food Service - Cash Disbursement PACKER            Operating expense            $      304.50
16445     5/14/2014   Swirl Corp / DBA Goldenwhipp - Cash Disbursement GOLDEN    Operating expense            $      265.00
16446     5/14/2014   JMV Rental - Cash Disbursement JMVREN                      Operating expense            $       50.00
16447     5/14/2014   Anthony Tirri - Cash Disbursement ANTTIR                   Personal                     $    1,000.00
16448     5/16/2014   Holsum de Puerto Rico - Cash Disbursement HOLSU            Operating expense            $       66.50
16449     5/16/2014   Suiza Dairy Corp. - Cash Disbursement SUIZAD               Operating expense            $       75.60
16450     5/16/2014   Francisco Gandarilla - Cash Disbursement FRANGA            Operating expense            $       40.00
16451     5/16/2014   Triple- S Vida, Inc - Cash Disbursement TRISSS             Operating expense            $      257.41
debit     5/19/2014   FIRST BANK                                                 Operating expense            $        1.56
debit     5/19/2014   FIRST BANK                                                 Operating expense            $        9.34
debit     5/19/2014   FIRST BANK                                                 Operating expense            $      155.59
debit     5/19/2014   AA FEES                                                    Operating expense            $      164.64
debit     5/19/2014   CHASE                                                      Personal                     $    5,000.00
16452     5/19/2014   J & M Depot, Inc. - Cash Disbursement J&M                  Operating expense            $      411.35
debit     5/20/2014   NABANCO                                                    Operating expense            $       47.80
16453     5/20/2014   Hector González - Cash Disbursement HECTGO                 Operating expense            $      176.00
16454     5/20/2014   Antilles Carpet - Cash Disbursement ANCARP                 Operating expense            $   21,011.01
debit     5/21/2014   AMEX                                                       Operating expense            $      125.35
16455     5/21/2014   Booking.com B.V - Cash Disbursement BOOKIN                 Operating expense            $      141.69
16456     5/21/2014   R&R Food Design Inc. - Cash Disbursement R&RFOO            Operating expense            $      302.50
16457     5/21/2014   JMV Rental - Cash Disbursement JMVREN                      Operating expense            $       60.00
debit     5/22/2014   XEROX                                                      Operating expense            $      500.85
16458     5/22/2014   PR COFFEE ROASTER, LLC - Cash Disbursement CAFRIC          Operating expense            $      576.00
16459     5/22/2014   PR COFFEE ROASTER, LLC - Cash Disbursement CAFRIC          Operating expense            $      420.10
debit     5/23/2014   DISCOVER                                                   Operating expense            $       16.35
16460     5/23/2014   DirectTek - Cash Disbursement DIRTEK                       Operating expense            $      330.00
16461     5/23/2014   Holsum de Puerto Rico - Cash Disbursement HOLSU            Operating expense            $       23.94
16462     5/23/2014   Suiza Dairy Corp. - Cash Disbursement SUIZAD               Operating expense            $       50.40
16463     5/23/2014   Francisco Gandarilla - Cash Disbursement FRANGA            Operating expense            $       40.00
16464     5/26/2014   PR COFFEE ROASTER, LLC - Cash Disbursement CAFRIC          Operating expense            $       64.95
debit     5/27/2014   XEROX                                                      Operating expense            $      107.00
16465     5/27/2014   AFLAC - Cash Disbursement AFLAC                            Operating expense            $      171.00
16466     5/27/2014   Tropigas de Puerto Rico, Inc. - Cash Disbursement TROPIG   Operating expense            $    2,410.89
16467     5/27/2014   Schindler Elevator Corp. - Cash Disbursement SCHIND        Operating expense            $      329.49
16468     5/27/2014   American Express - Cash Disbursement AMEX                  Operating expense            $    1,211.00
16469     5/27/2014   American Express - Cash Disbursement AMEX                  Operating expense            $    6,138.95
16470     5/27/2014   American Express - Cash Disbursement AMEX                  Operating expense            $    2,170.56
16471     5/27/2014   American Express - Cash Disbursement AMEX                  Operating expense            $      102.07
16472     5/27/2014   American Express - Cash Disbursement AMEX                  Operating expense            $      417.00
16473     5/27/2014   American Express - Cash Disbursement AMEX                  Operating expense            $      625.65
16474     5/27/2014   American Express - Cash Disbursement AMEX                  Operating expense            $      145.93
16475     5/27/2014   American Express - Cash Disbursement AMEX                  Operating expense            $      206.60
16476     5/27/2014   Gasco Industrial - Cash Disbursement GASIND                Operating expense            $      858.00
16477     5/27/2014   PRTC - Cash Disbursement PRTC                              Operating expense            $    1,672.25
debit     5/28/2014   FIRST BANK                                                 Operating expense            $        3.00
debit     5/28/2014   AMEX                                                       Operating expense            $      120.65
16478     5/28/2014   Quality Water Service - Cash Disbursement QUALWA           Operating expense            $       40.00
debit     5/29/2014   CHASE                                                      Operating expense            $      622.03
16479     5/29/2014   Latimer, Biaggi, Rachid - Cash Disbursement LATBAG         Operating expense            $    1,000.00
16480     5/29/2014   American Express - Cash Disbursement AMEX                  Operating expense            $      515.00
16481     5/29/2014   American Express - Cash Disbursement AMEX                  Operating expense            $       72.66
16482     5/29/2014   American Express - Cash Disbursement AMEX                  Operating expense            $      484.05
16483     5/29/2014   American Express - Cash Disbursement AMEX                  Operating expense            $    2,765.76
16484     5/29/2014   American Express - Cash Disbursement AMEX                  Operating expense            $   20,241.10
16485     5/29/2014   American Express - Cash Disbursement AMEX                  Operating expense            $      485.85
16489     5/29/2014   Cuadrado Alfombras - Cash Disbursement CUADRA              Operating expense            $    3,250.00
16490     5/29/2014   American Express - Cash Disbursement AMEX                  Operating expense            $      160.95
16491     5/29/2014   JC Uniforms - Cash Disbursement JCUNIF                     Operating expense            $    1,506.80
16492     5/30/2014   Gladys Laboy - Cash Disbursement GLALAB                    Operating expense            $       50.00
16493     5/30/2014   Francisco Gandarilla - Cash Disbursement FRANGA            Operating expense            $       40.00
16494     5/30/2014   Suiza Dairy Corp. - Cash Disbursement SUIZAD               Operating expense            $      100.80
16495     5/30/2014   Hector González - Cash Disbursement HECTGO                 Operating expense            $       48.00
debit      6/2/2014   FIRST BANK PAYMENT                                         First Bank Loan Payment      $   42,621.73
16496      6/2/2014   Pony Express Financial, LLC - Cash Disbursement PONEXP     Related party loan payment   $    8,250.00
16497      6/2/2014   Pony Express Financial, LLC - Cash Disbursement PONEXP     Related party loan payment   $    1,650.00
16498      6/2/2014   Anthony Tirri - Cash Disbursement ANTTIR                   Personal                     $    5,000.00
16499      6/2/2014   International Air Leases - Cash Disbursement INTAIR        Related party disbursement   $   11,103.73
16500      6/2/2014   Barnett - Cash Disbursement BARNET                         Operating expense            $      842.80
debit      6/3/2014   AMEX                                                       Operating expense            $   10,000.00
debit      6/3/2014   NABANCO                                                    Operating expense            $    2,408.02
debit      6/3/2014   NABANCO                                                    Operating expense            $      908.99
debit      6/3/2014   NABANCO                                                    Operating expense            $      250.00
debit      6/3/2014   DISCOVER                                                   Operating expense            $       57.02
debit      6/3/2014   NABANCO                                                    Operating expense            $       42.81
16501      6/4/2014   PRTC - Cash Disbursement PRTC                              Operating expense            $      969.43
16502      6/4/2014   PRTC - Cash Disbursement PRTC                              Operating expense            $      601.28
16503      6/4/2014   Xerox Corporation - Cash Disbursement XEROX                Operating expense            $       46.75
16504      6/4/2014   Aerostar Airport Holdings LLC - Cash Disbursement AEROST   Operating expense            $    2,080.00
16505      6/4/2014   Autoridad de los Puertos - Cash Disbursement AUTPUE        Operating expense            $   29,916.67
16506      6/5/2014   SAM'S CLUB - Cash Disbursement SAMS                        Operating expense            $       70.00
16507      6/5/2014   Yolanda Olivieri - Cash Disbursement YOLAND                Operating expense            $      199.80
16508      6/5/2014   Ilia Reyes - Cash Disbursement ILIREY                      Operating expense            $      199.80
16509      6/5/2014   Kin Cuc Corporation - Cash Disbursement KINCUC             Operating expense            $    3,629.64
16510      6/5/2014   SAM'S CLUB - Cash Disbursement SAMS                        Operating expense            $      419.00
16511      6/5/2014   Packers Food Service - Cash Disbursement PACKER            Operating expense            $      333.28
debit      6/6/2014   AMEX                                                       Operating expense            $       15.00
16512      6/6/2014   Expedia Inc. - Cash Disbursement EXPEDI                    Operating expense            $    1,893.60
16513      6/6/2014   Booking.com B.V - Cash Disbursement BOOKIN                 Operating expense            $    3,361.64
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16514      6/6/2014   Suiza Dairy Corp. - Cash Disbursement SUIZAD               Operating expense   $      50.40
16515      6/6/2014   Francisco Gandarilla - Cash Disbursement FRANGA            Operating expense   $      40.00
16516      6/6/2014   Holsum de Puerto Rico - Cash Disbursement HOLSU            Operating expense   $     117.04
16517      6/6/2014   Hector González - Cash Disbursement HECTGO                 Operating expense   $      64.00
16518      6/9/2014   ACE Laundry & Equipment - Cash Disbursement ACELAU         Operating expense   $     235.00
16519      6/9/2014   IPFS Corporation - Cash Disbursement IPFSCO                Operating expense   $   3,061.52
debit     6/10/2014   AMEX                                                       Operating expense   $   6,810.49
debit     6/10/2014   NABANCO                                                    Operating expense   $     150.67
debit     6/10/2014   XEROX                                                      Operating expense   $     150.27
16520     6/10/2014   Willkie Trias Fraticelli - Cash Disbursement WILTRI        Operating expense   $   1,334.00
16521     6/10/2014   Tropigas de Puerto Rico, Inc. - Cash Disbursement TROPIG   Operating expense   $   2,073.29
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16522             6/10/2014   D'Erik Exterminating Service - Cash Disbursement DERICK             Operating expense                             $        450.00
16523             6/10/2014   Francisco J. Garrido - Cash Disbursement FRAGAR                     Operating expense                             $      2,200.00
16524             6/10/2014   Ballester Hermanos, Inc. - Cash Disbursement BALHER                 Operating expense                             $      1,646.50
debit             6/11/2014   AMEX                                                                Operating expense                             $        152.59
16525             6/11/2014   Ballester Hermanos, Inc. - Cash Disbursement BALHER                 Operating expense                             $        276.00
16526             6/11/2014   PR COFFEE ROASTER, LLC - Cash Disbursement CAFRIC                   Operating expense                             $        290.80
16527             6/12/2014   Cruz Moya Elevator Consultants - Cash Disbursement CRUZM            Operating expense                             $        150.00
debit             6/13/2014   AMEX                                                                Operating expense                             $          4.70
16528             6/13/2014   Lies Laidi - Cash Disbursement LIESLA                               Operating expense                             $         10.57
16529             6/13/2014   Hector González - Cash Disbursement HECTGO                          Operating expense                             $         32.00
16530             6/13/2014   Suiza Dairy Corp. - Cash Disbursement SUIZAD                        Operating expense                             $         50.40
16531             6/13/2014   Francisco Gandarilla - Cash Disbursement FRANGA                     Operating expense                             $         40.00
16532             6/13/2014   Holsum de Puerto Rico - Cash Disbursement HOLSU                     Operating expense                             $         71.82
16533             6/13/2014   Fernando Flores - Cash Disbursement FERNAN                          Operating expense                             $         21.40
16534             6/13/2014   Yolanda Olivieri - Cash Disbursement YOLAND                         Operating expense                             $         31.54
16535             6/13/2014   A&D Office Supplies Inc. - Cash Disbursement A&DOFF                 Operating expense                             $        160.20
16536             6/13/2014   J & M Depot, Inc. - Cash Disbursement J&M                           Operating expense                             $        377.56
debit             6/16/2014   NABANCO                                                             Operating expense                             $        201.64
debit             6/16/2014   NABANCO                                                             Operating expense                             $        201.64
debit             6/16/2014   NABANCO                                                             Operating expense                             $        114.46
16537             6/16/2014   Expedia Inc. - Cash Disbursement EXPEDI                             Operating expense                             $      1,265.00
16538             6/17/2014   Triple- S Vida, Inc - Cash Disbursement TRISSS                      Operating expense                             $        257.41
16539             6/17/2014   Schindler Elevator Corp. - Cash Disbursement SCHIND                 Operating expense                             $        329.49
16540             6/17/2014   AFLAC - Cash Disbursement AFLAC                                     Operating expense                             $        171.00
16541             6/17/2014   Image Technology Systems - Cash Disbursement IMAGE                  Operating expense                             $        750.00
16542             6/17/2014   R.S. & Assoc. - PSC - Cash Disbursement RS&ASS                      Operating expense                             $        625.00
16543             6/17/2014   Power Engineering Inc. - Cash Disbursement POWENG                   Operating expense                             $        940.00
debit             6/18/2014   NABANCO                                                             Operating expense                             $         47.80
16544             6/18/2014   DK Philips,Attorneys & Counsel - Cash Disbursement DKPHIL           Operating expense                             $      4,192.50
16545             6/18/2014   Integrand Insurance Company - Cash Disbursement INTINS              Operating expense                             $      8,199.80
16546             6/18/2014   PR COFFEE ROASTER, LLC - Cash Disbursement CAFRIC                   Operating expense                             $      1,023.95
16547             6/18/2014   Packers Food Service - Cash Disbursement PACKER                     Operating expense                             $        404.90
16548             6/18/2014   Gasco Industrial - Cash Disbursement GASIND                         Operating expense                             $        693.00
16549             6/18/2014   Caribbean Hotel Supplies, Inc. - Cash Disbursement CARHOT           Operating expense                             $        416.00
16550             6/18/2014   Quality Water Service - Cash Disbursement QUALWA                    Operating expense                             $         40.00
debit             6/20/2014   AMEX                                                                Operating expense                             $          5.31
debit             6/20/2014   NABANCO                                                             Operating expense                             $        138.66
16551             6/20/2014   Francisco Gandarilla - Cash Disbursement FRANGA                     Operating expense                             $         40.00
16552             6/20/2014   Holsum de Puerto Rico - Cash Disbursement HOLSU                     Operating expense                             $        109.06
16553             6/20/2014   Suiza Dairy Corp. - Cash Disbursement SUIZAD                        Operating expense                             $        176.40
16554             6/20/2014   Hector González - Cash Disbursement HECTGO                          Operating expense                             $        120.00
debit             6/23/2014   CHASE                                                               Personal                                      $      5,000.00
debit             6/23/2014   XEROX                                                               Operating expense                             $        458.84
debit             6/23/2014   NABANCO                                                             Operating expense                             $         50.00
16555             6/23/2014   Addy Ramos - Cash Disbursement ADDYRA                               Operating expense                             $        325.00
16556             6/23/2014   Cash / Petty Cash - Cash Disbursement PETTY                         Operating expense                             $        354.50
16557             6/23/2014   PRTC - Cash Disbursement PRTC                                       Operating expense                             $      1,672.25
16558             6/23/2014   PRTC - Cash Disbursement PRTC                                       Operating expense                             $        590.09
16559             6/24/2014   Ballester Hermanos, Inc. - Cash Disbursement BALHER                 Operating expense                             $        598.37
16560             6/24/2014   Booking.com B.V - Cash Disbursement BOOKIN                          Operating expense                             $         21.00
debit             6/25/2014   AA FEES                                                             Operating expense                             $        163.91
debit             6/25/2014   AA FEES                                                             Operating expense                             $        146.20
debit             6/25/2014   NABANCO                                                             Operating expense                             $        201.64
debit             6/25/2014   NABANCO                                                             Operating expense                             $        164.58
debit             6/25/2014   FIRST BANK                                                          Operating expense                             $          8.77
debit             6/25/2014   FIRST BANK                                                          Operating expense                             $          1.46
debit             6/26/2014   AMEX                                                                Operating expense                             $          0.01
16561             6/26/2014   Mr.Ink of Puerto Rico - Cash Disbursement MR.INK                    Operating expense                             $        139.80
16562             6/26/2014   DirectTek - Cash Disbursement DIRTEK                                Operating expense                             $        330.00
16563             6/26/2014   Secretario de Hacienda - Cash Disbursement SECHAC                   Operating expense                             $         70.28
16565             6/26/2014   M&N Electronics - Cash Disbursement M&NELE                          Operating expense                             $        195.00
debit             6/27/2014   NABANCO                                                             Operating expense                             $        163.49
16566             6/27/2014   Montequin Dist., Inc. - Cash Disbursement MONTQU                    Operating expense                             $         67.00
16567             6/27/2014   Packers Food Service - Cash Disbursement PACKER                     Operating expense                             $        204.02
16568             6/27/2014   Suiza Dairy Corp. - Cash Disbursement SUIZAD                        Operating expense                             $         50.40
16569             6/27/2014   Holsum de Puerto Rico - Cash Disbursement HOLSU                     Operating expense                             $         50.54
16570             6/27/2014   Hector González - Cash Disbursement HECTGO                          Operating expense                             $         48.00
16571             6/27/2014   Francisco Gandarilla - Cash Disbursement FRANGA                     Operating expense                             $         40.00
16572             6/27/2014   American Express - Cash Disbursement AMEX                           Operating expense                             $      5,141.13
debit             6/30/2014   JP MORGAN CHASE                                                     Personal                                      $      5,000.00
debit             6/30/2014   NABANCO                                                             Operating expense                             $        152.59
16573             6/30/2014   American Express - Cash Disbursement AMEX                           Operating expense                             $      2,642.66


                                                                                                                                        TOTAL       $708,127.02

If any checks written this period have not been delivered to the payee, provide details, including the payee, amount, explanation for
holding check and anticipated delivery date of check.
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                                             CHAPTER 11 POST-CONFIRMATION
                                        CASH/DEBIT/CHECK DISBURSEMENTS DETAILS

Name of Bank                                                              First Bank
Account Number                                                             1305004591
Purpose of Account (Operating/Payroll/Personal)                           Payroll
Type of Account (e.g., Checking)                                          Checking

  Check        Date of
 Number      Transaction                     Payee                                   Purpose or Description                           Amount
                               See payroll check history report- April 1 2014- June 30, 2014                                       $ 196,659.67
debit         () 04/02/14    ASUME                                                                                                     $100.00
debit         () 04/17/14    ASUME                                                                                                     $100.00
debit         () 05/02/14    ASUME                                                                                                     $311.25
debit         () 05/19/14    ASUME                                                                                                     $311.25
debit         () 06/04/14    ASUME                                                                                                     $311.25
debit         () 06/16/14    ASUME                                                                                                     $311.25
debit         () 06/18/14    ASUME                                                                                                     $311.25
debit         () 06/30/14    ASUME                                                                                                     $311.25
                                                                                                                    TOTAL          $198,727.17

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holding check and anticipated delivery date of check.
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                                                         CHAPTER 11 POST-CONFIRMATION
                                                    CASH/DEBIT/CHECK DISBURSEMENTS DETAILS

Name of Bank                                                                                       First Bank
Account Number                                                                                     1305004613
Purpose of Account (Operating/Payroll/Personal)                                                    Taxes
Type of Account (e.g., Checking)                                                                   Checking


  Check        Date of
 Number      Transaction                                   Payee                                                 Purpose or Description                  Amount
179             () 04/02/14   Gobierno Municipal Autonomo - Cash Disbursement GOBMUN               Other taxes                                       $       48.05
debit           () 04/04/14   HACIENDA                                                             State taxes                                       $      288.00
debit           () 04/04/14   PR TOURISM                                                           State taxes                                       $   35,097.00
debit           () 04/16/14   HACIENDA                                                             State taxes                                       $    2,589.99
debit           () 04/16/14   IRS                                                                  Federal taxes- FICA                               $    5,505.87
177             () 04/22/14   Secretario de Hacienda - Cash Disbursement SECHAC                    Other taxes                                       $        9.60
178             () 04/22/14   Secretario de Hacienda - Cash Disbursement SECHAC                    Other taxes                                       $    8,997.31
180             () 04/22/14   Integrand Asurance Company - Cash Disbursement INTEG                 Other taxes                                       $      830.59
debit           () 04/25/14   IRS                                                                  Federal taxes- FICA                               $    1,683.63
debit           () 05/01/14   IRS                                                                  Federal taxes- FICA                               $      318.78
debit           () 05/01/14   HACIENDA                                                             State taxes                                       $      341.53
debit           () 05/01/14   HACIENDA                                                             State taxes                                       $    2,573.39
debit           () 05/01/14   IRS                                                                  Federal taxes- FICA                               $    4,908.08
debit           () 05/05/14   IRS                                                                  Federal taxes- FICA                               $       71.14
181             () 05/06/14   Gobierno Municipal Autonomo - Cash Disbursement GOBMUN               Other taxes                                       $       51.55
debit           () 05/08/14   HACIENDA                                                             State taxes                                       $      309.00
debit           () 05/08/14   TOURISM                                                              State taxes                                       $   27,496.00
debit           () 05/09/14   CRIM                                                                 Other taxes                                       $    2,992.09
debit           () 05/16/14   HACIENDA                                                             State taxes                                       $    2,627.67
debit           () 05/16/14   IRS                                                                  Federal taxes- FICA                               $    5,370.40
debit           () 06/02/14   HACIENDA                                                             State taxes                                       $   12,348.69
debit           () 06/02/14   IRS                                                                  Federal taxes- FICA                               $    6,089.28
debit           () 06/02/14   HACIENDA                                                             State taxes                                       $    5,429.52
debit           () 06/02/14   IRS                                                                  Federal taxes- FICA                               $    4,854.49
debit           () 06/02/14   IRS                                                                  Federal taxes- FICA                               $       47.44
183             () 06/05/14   Gobierno Municipal Autonomo - Cash Disbursement GOBMUN               Other taxes                                       $       27.53
debit           () 06/06/14   TOURISM                                                              State taxes                                       $   19,903.00
debit           () 06/06/14   HACIENDA                                                             State taxes                                       $      165.00
debit           () 06/16/14   IRS                                                                  Federal taxes- FICA                               $    4,613.14
debit           () 06/16/14   HACIENDA                                                             State taxes                                       $    2,671.19


                                                                                                                                          TOTAL      $158,258.95

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holding check and anticipated delivery date of check.
